                    UNITED STATES DISTRICT COURT
                 WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                             1:13-cv-107-MR
                           (1:02-cr-105-MR-4)


MICHAEL ANTHONY JENKINS, )
                            )
         Petitioner,        )
                            )
     vs.                    )                              ORDER
                            )
UNITED STATES OF AMERICA, )
                            )
                            )
         Respondent.        )
____________________________)


       THIS MATTER is before the Court on Petitioner’s Motion to Vacate,

Set Aside, or Correct Sentence, filed under 28 U.S.C. § 2255 or, in the

Alternative, under 28 U.S.C. § 2241.1 [Doc. 1]. No response from the

Government is necessary. For the reasons that follow, the Court finds that

this is an unauthorized, successive petition. The Court therefore dismisses

the Motion to Vacate. The Court further finds that Petitioner may not obtain

relief under § 2241.

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   The instant motion is docketed as a Section 2255 motion, but Petitioner suggests in
his petition that he is intending to bring it as a Section 2241 petition. Even if Petitioner
were attempting to file the petition as one filed under Section 2241, it still must be
treated as a successive petition because Section 2241 cannot be used to avoid the
successive petition rules for Section 2255 motions to vacate. The Court also notes that
Petitioner did not sign the petition under penalty of perjury.



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                             BACKGROUND

     On February 28, 2003, Petitioner entered into a plea agreement with

the Government under which he pled guilty to conspiracy to possess with

intent to distribute cocaine base, in violation of 21 U.S.C. §§ 841 and 846,

and possessing and brandishing a firearm in relation to a drug trafficking

crime, and aiding and abetting the same, in violation of 18 U.S.C. §§

924(c)(1) and (2). [Criminal Case No. 1:02cr105-MR-4, Doc. 139: Plea

Agreement]. On March 19, 2004, this Court sentenced Petitioner to 292

months’ imprisonment. [Id., Doc. 292: Amended Judgment].

     Petitioner filed his first 28 U.S.C. § 2255 petition on November 17,

2006, which this Court denied on May 16, 2007. See [Docs. 358, 373,

1:06cv373 (W.D.N.C.)]. Petitioner filed the instant Section 2255 petition on

April 2, 2013.   Thus, this is the second Section 2255 petition filed by

Petitioner challenging the conviction and sentence in Criminal Case No.

1:02cr105-MR-4. In the instant petition, Petitioner seeks relief under the

Fourth Circuit’s en banc decision in United States v. Simmons, 649 F.3d

237 (4th Cir. 2011), contending that he was improperly designated as a

career offender under U.S.S.G. § 4B1.1.

                        STANDARD OF REVIEW

     Pursuant to Rule 4(b) of the Rules Governing Section 2255
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Proceedings, sentencing courts are directed to promptly examine motions

to vacate, along with “any attached exhibits and the record of prior

proceedings” in order to determine whether a petitioner is entitled to any

relief. After having considered the record in this matter, the Court finds that

no response is necessary from the United States. Further, the Court finds

that this matter can be resolved without an evidentiary hearing.             See

Raines v. United States, 423 F.2d 526, 529 (4th Cir. 1970).

                                DISCUSSION

      Pursuant to 28 U.S.C. § 2244(b)(3)(A), “[b]efore a second or

successive application permitted by this section is filed in the district court,

the applicant shall move in the appropriate court of appeals for an order

authorizing the district court to consider the application.” Thus, Petitioner

must first obtain an order from the United States Court of Appeals for the

Fourth Circuit before this court will consider any successive petition under

28 U.S.C. § 2255.      Petitioner has not shown that he has obtained the

permission of the United States Court of Appeals for the Fourth Circuit to

file a successive petition. See also 28 U.S.C. § 2255(h) (“[a] second or

successive motion must be certified as provided in section 2244 by a panel

of the appropriate court of appeals.”). Accordingly, this successive petition


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must be dismissed.2 See Burton v. Stewart, 549 U.S. 147, 153 (2007)

(holding that failure of petitioner to obtain authorization to file a “second or

successive” petition deprived the district court of jurisdiction to consider the

second or successive petition “in the first place.”).

      Next, to the extent that Petitioner alternatively seeks relief under 28

U.S.C. § 2241, he is not entitled to relief. A petitioner seeking to attack his

conviction or sentence must file a motion under Section 2255 unless this

remedy “is inadequate or ineffective to test the legality of his detention.” 28

U.S.C. § 2255(e). “It is beyond question that § 2255 is not inadequate or

ineffective merely because an individual is unable to obtain relief under that

provision.” In re Jones, 226 F.3d 328, 333 (4th Cir. 2000). The Fourth

Circuit has concluded that the remedy under Section 2255 is “inadequate

or ineffective” only when:

      (1) at the time of conviction settled law of this circuit or the
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  District courts in the Fourth Circuit to have addressed the issue have held that
petitions that raise Simmons claims are properly characterized as successive petitions.
See Evans v. Warden at FMC Butner, No. 5:12-HC-2043-FL, 2012 WL 6633942, at *2
(E.D.N.C. Dec. 20, 2012) (stating that if an action raising a Simmons claim were treated
as a Section 2255 petition, it would be dismissed as successive); Newman v. United
States, No. 6:04-cr-01127-GRA-8, 2012 WL 6618754, at *2 (D.S.C. Dec. 19, 2012)
(dismissing as an unauthorized, successive petition a Section 2255 petition raising
Simmons claims); Akili v. Zych, No. 7:12-cv-456, 2012 WL 4891701, at *2 (W.D. Va.
Oct. 15, 2012) (assuming that an action raising a Simmons claim would be a successive
petition); Jones v. United States, Civil Action No. WDQ-12-2186, 2012 WL 3115756, at
*2 (D. Md. July 25, 2012) (dismissing as an unauthorized, successive petition a Section
2255 petition raising Simmons claims).

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        Supreme Court established the legality of the conviction; (2)
        subsequent to the prisoner’s direct appeal and first § 2255
        motion, the substantive law changed such that the conduct of
        which the prisoner was convicted is deemed not to be criminal;
        and (3) the prisoner cannot satisfy the gatekeeping provisions
        of § 2255 because the new rule is not one of constitutional law.

Id. at 333-34.

        Here, Petitioner does not challenge the legality of his conviction;

rather, he challenges his sentence, which he contends was improperly

enhanced because he was wrongly designated as a career offender. As

Petitioner is challenging his sentence only, he has failed to demonstrate

that pursuit of relief through Section 2255 is inadequate. Moreover, without

consideration of the prior drug conviction, Petitioner was still sentenced to a

term of imprisonment within the maximum statutory sentence. See United

States v. Powell, 691 F.3d 554, 562 n.1 (4th Cir. 2012). For these reasons,

Petitioner is not entitled to relief under Section 2241.

        For the reasons stated herein, Petitioner’s Section 2255 petition is

dismissed.     Furthermore, Petitioner may not obtain relief under Section

2241.

        The Court finds that the Petitioner has not made a substantial

showing of a denial of a constitutional right. See generally 28 U.S.C. §

2253(c)(2); see also Miller-El v. Cockrell, 537 U.S. 322, 336-38, 123 S.Ct.

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1029, 154 L.Ed.2d 931 (2003) (in order to satisfy § 2253(c), a “petitioner

must demonstrate that reasonable jurists would find the district court’s

assessment of the constitutional claims debatable or wrong”) (citing Slack

v. McDaniel, 529 U.S. 473, 484-85, 120 S.Ct. 1595, 146 L.Ed.2d 542

(2000)).     Petitioner has failed to demonstrate both that this Court’s

dispositive procedural rulings are debatable, and that his Motion to Vacate

states a debatable claim of the denial of a constitutional right. Slack v.

McDaniel, 529 U.S. 473, 484-85, 120 S.Ct. 1595, 146 L.Ed.2d 542 (2000).

As a result, the Court declines to issue a certificate of appealability. See

Rule 11(a), Rules Governing Section 2255 Proceedings for the United

States District Courts, 28 U.S.C. § 2255.

                                    ORDER

      IT IS, THEREFORE, ORDERED that Petitioner’s Motion to Vacate,

[Doc. 1], is DISMISSED as a successive petition.                    Furthermore, to the

extent Petitioner seeks to obtain relief under Section 2255, he is not

entitled to relief.

      IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules

Governing Section 2254 and Section 2255 Cases, this Court declines to
                                            Signed: June 10, 2013
issue a certificate of appealability.


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